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 FELLOW,    AMERICAN      COLLEGE     OF   TRIAL   LAWYERS


                                                               August 21, 2019

VIA OVERNIGHT COURIER
Honorable Anthony J. Trenga
Albert V. Bryan U.S. Courthouse                TO BE FILED UNDERSEA!,
401 Courthouse Square
Alexandria, VA 22314

                                       Re:     Proposed Testimony ofJeremy Hammond
                                               Grand Jury 19-13
                                               United States v. America v. John Doe 2010R03793

Dear Judge Trenga,

       I don't often begin my letters ofinhoduction v/ith an apology - but it seems appropriate
under the circumstances I am about to describe. 1 am not admitted in the Eastern District of
Virginia (or in Virginia) and am,therefore, no authorized to file in your Court. I have been
reaching out to find local counsel to assist-and it seems that Jeffrey Zimmerman, Esq., who is
admitted in the EDVA,ha.s graciously offered to help with this matter; however,I needed to do
something quickly...so here it is. Since the proceedings governing this process are currently
under seal, I respectfully request that this letter be filed under seal.

       I represented Jeremy Hammond,pursuant to the Criminal Justiee Act, in connection with
his criminal case in the Southern District of New York, 12 Cr. 185, before the Honorable Loretta
A. Preska. Mr. Hammond pleaded guilty in that case and is coming to the end ofa ten-year
sentence. Last Friday,I was re-appointed by the Honorable Loretta A.Preska,(SDNY)to
continue my representation after I was contacted by the AUSA Gordon Kromberg,in the Eastern
District of Virginia regarding a compulsion order pending before your Honor in connection with
the above-captioned grand jurj' proceeding. For reasons I will explain in this letter, time is of the
essence in this matter.

       I write to request that your Honor delay the execution of the compulsion order until
January of2020. The reason for this request is that Mr. Hammond is currently in an intensive, 9-
month Residential Drug Treannent Program(RDAP)at FCl Memphis. This program is not
available to inmates imtil they are nearing the end ofa criminal sentence. My client has worked
hard in this program, and if his participation is interrupted, he will hot be able to continue to
graduation in December of2019.

As stated on the BOP website,

       RDAP is the Bureau's most intensive U-catment program. CBT is used in a
       modified therapeutic community model where offenders experience living
       in a pro-social community. Offenders live in a unit separate from general
        population; they participate in half-day programming and half-day work.
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